           Case 8:19-bk-04542-RCT         Doc 30      Filed 09/24/19     Page 1 of 19



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov


In re:                                                     Case No. 8:19-bk-04542-RCT
                                                           Chapter 7
Frank Natiello
Louisa-anne Natiello,

         Debtors.
______________________________/

     CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
 REAL ESTATE SERVICES AND KELLER WILLIAMS MIDTOWN DIRECT TO
PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 & 330

         Christine Herendeen, as Chapter 7 Trustee (the “Trustee”) for the above referenced

Debtors (together, the “Debtor”), files this Application to authorize retention of (1) BK Global

Real Estate Services (“BKRES”) and (2) Keller Williams Midtown Direct (the “Listing Agent”)

In support thereof, the Trustee respectfully states as follows:

                                  PRELIMINARY STATEMENT

         The Trustee requests approval to retain BKRES and Hunt Realty Group, at no cost to

the estate, to negotiate with and persuade the first lien holder on certain real property in which

the estate has no equity to (1) allow Trustee to sell such property at the highest price that the

market will bear, (2) waive the resulting deficiency claim and (3) pay a 11 U.S.C. § 506

surcharge to provide a carve out for the benefit of the estate and pay all other sale expenses,

including a 6% brokerage commission that will be shared equally by BKRES and Listing Agent

only upon the closing of a sale that is approved by this Court.

         BKRES and its affiliates have proprietary technology and a national team of

experienced loan servicing specialists, asset managers, negotiators, trustee relation managers,

real estate brokers and agents, closing specialists and attorneys with extensive experience in
              Case 8:19-bk-04542-RCT       Doc 30     Filed 09/24/19     Page 2 of 19



procuring the consent of mortgage lenders and servicers to sell over-encumbered properties and

provide significant cash recoveries to selling estates with no equity, through the Consented

Sale™ process described herein.

         BKRES and Listing Agent will not be entitled to any compensation from the estate

whatsoever under any circumstances. They will only receive and share a customary brokerage

commission that is paid by secured creditor as a 11 U.S.C. § 506 surcharge approved by this

Court.

         The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a Consented

Sale™ will likely result in secured creditor paying a carve out for the benefit of the estate with

proceeds from the public sale of an asset in which the estate has no equity and (2) expects to

obtain secured Creditors’ agreement to a Consented Sale™, and bring a separate motion seeking

this Court’s approval of the procedures, terms and conditions by which the over-encumbered

property will be sold, within the coming months.

                                           Jurisdiction

         1.      This Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2)(A), (M), (N), and (O).

         2.       Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                          Background

         3.      On 05/14/2019, the Debtors commenced this case by filing a voluntary petition

for relief under Chapter 7 of the United States Bankruptcy Code.

         4.      Thereafter, the Trustee was appointed as the Chapter 7 Trustee in this case.
            Case 8:19-bk-04542-RCT        Doc 30     Filed 09/24/19     Page 3 of 19



       5.      The Trustee held and concluded the 341 meeting on 06/19/2019.

       6.      The Debtors are the sole owners of real property located at 8 Sandy Hill Road

Hamburg, NJ 07419 (the “Property”).

       7.      The Debtors scheduled the Property with a value of “ $182,700.00 ”. The

Property is subject to mortgage liens (the “Senior Mortgage”) in favor of Ditech (collectively,

the “Secured Creditors”) in an amount exceeding 113,932.00 and a second mortgage (the

“Second Mortgage”) in an amount exceeding $114,000.00 in favor of Ditech (the “Creditor”).

       8.    The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™ 1, sales analysis report and opinion of value for the Property provided by BKRES

and Listing Agent, has determined it to be in the best interest of the Debtors estate and all

creditors to negotiate to obtain Secured Creditors’ agreement and consent (“Consent”) to do the

following, with the proviso that the hired professionals, BKRES or Local Agent, shall not

participate in the sale and purchase of any estate property except as hired brokers:

               a. sell the Property to whichever third party Trustee determines to have made

                   the best qualified offer during a public sale approved by the Court;

               b. release the Senior Mortgage and otherwise waive all of its claims against the

                   estate with respect to the Property (including any deficiency claims resulting

                   from the proposed sale); and

               c. If the Property is sold to a third party, agree to a 11 U.S.C. § 506 surcharge

                   to pay all the expenses associated with the proposed sale, including the

                   payment of a 6% real estate brokerage commission to BKRES and Listing

                   Agent and reimbursement of their out-of-pocket expenses, and provide a

                   carveout for the benefit of allowed unsecured creditors of the Debtors estate;
            Case 8:19-bk-04542-RCT       Doc 30     Filed 09/24/19     Page 4 of 19



               d. If Secured Creditor purchases property, agree to a 11 U.S.C. § 506 surcharge

                   to pay all the expenses associated with the proposed sale, including the

                   payment of a 2% real estate brokerage commission to BKRES, of which a

                   $500.00 fee will be paid to Listing Agent, and provide a carveout for the

                   benefit of allowed unsecured creditors of the Debtors estate.

       9.    Trustee expects to obtain Secured Creditors’ Consent and bring a separate motion

seeking an order approving the sale of the Property (the “Motion to Approve Sale”) within

several months of the entry of the order sought by this Application.

       10. By this Application, the Trustee requests authority pursuant to Sections 327, 328(a)

and 330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured

Creditors’ Consent, and (b) approve Secured Creditors’ payment of the fees described below

directly to BKRES and Listing Agent at closing of the sale of the Property, if and when the

Consent and Motion to Approve Sale are granted.

                                        APPLICATION

       11.     Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor

“with the court’s approval, may employ or authorize the employment of a professional person

under section 327...on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed percentage or fee basis, or on a contingent fee basis.”

11 U.S.C. § 328(a). Section 330 of the Bankruptcy Code permits the Court to “award to a

trustee… or a professional person employed under section 327…(A) reasonable compensation

for actual, necessary services rendered [by such party]… and (B) reimbursement for actual,

necessary expenses.”    11 U.S.C. § 330(a)(1). Compensation will be determined later in

accordance with 11 U.S.C. § 330.
             Case 8:19-bk-04542-RCT              Doc 30      Filed 09/24/19   Page 5 of 19



           12.     As further described in the materials attached to their affidavits, BKRES 2 and

Listing Agent have extensive experience obtaining the consent and agreement of mortgage

lenders and servicers to the sale of their collateral and resolution of any resulting unsecured

claims in order to produce a recovery for estates from over-encumbered assets in which the

estate has no equity.

           13.     The Trustee believes that the highest and best value for the Property will be

generated through a sale in which the Property is widely marketed to the public and offered at

the highest price that the market will bear. The Trustee further believes that such a sale is in

the best interest of the Debtors’ estate, but can only be achieved if Secured Creditors’ Consent

is first obtained. That is why the Trustee believes that retaining BKRES and Listing Agent to

obtain Secured Creditors’ Consent is in the best interests of the Debtors’ estate.

           14. In no event will the estate have any obligation to pay BKRES or Listing Agent.

The terms of the BKRES Agreement and Listing Agreement provide that BKRES and Listing

Agent are only entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the

Motion to Approve Sale is granted and (c) the Property is sold, in which event BKRES and

Listing Agent will receive and share a 6% real estate brokerage commission at closing in

accordance with the order approving the sale.

           15. BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does

not grant its Consent or the Court does not grant the Motion to Approve Sale.

           16. The Trustee submits that the terms of employment and compensation as set out in

the BKRES Agreement and listing agreement are reasonable in light of the extensive experience




2
    BKRES is the broker affiliate of BK Global (http://www.bkginc.com/).
          Case 8:19-bk-04542-RCT          Doc 30     Filed 09/24/19      Page 6 of 19



of BKRES and Listing Agent and the nature of the services they provide.

       17. BKRES attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit “A” is an Affidavit of Disinterestedness of BKRES.

BKRES also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee

with any individual or entity other than Listing Agent.

       18. Listing Agent attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and

2016(a). Attached hereto as Exhibit “B” is an Affidavit of Disinterestedness of Listing Agent.

Listing Agent also attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its

fee with any individual or entity other than BKRES.

                                         CONCLUSION

       For the foregoing and all other necessary and proper purposes, the Trustee seeks the

Court’s authority to retain BKRES and Listing Agent in this case, and requests that the Court

approve the compensation arrangements set forth in the BKRES Agreement and Listing

Agreement pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code.

        Dated: September, 20, 2019                        Respectfully submitted,

                                                          /s/Christine Herendeen
                                                          Chapter 7 Trustee
                                                          P.O. Box 152348
                                                          Tampa, FL 33684
                                                          Telephone: (813) 438-3833
                                                          Email:
                                                          clherendeen@herendeenlaw.com
         Case 8:19-bk-04542-RCT          Doc 30     Filed 09/24/19     Page 7 of 19



                                  CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the Application to Retain BK Global Real Estate

Services and Keller Williams Midtown Direct Real Estate Broker was provided by electronic

delivery or U.S. mail on September, 20, 2019 to the parties listed below

       U. S. Trustee, 501 E. Polk Street Suite 1200, Tampa, FL 33602

       Sandra H. Day, The Day Law Office, 4108 Deltona Blvd., Spring Hill, FL 34606

       Frank Natiello & Louisa-anne Natiello, 8027 Sealawn Dr., Spring Hill, FL 34606

       BK Global Real Estate Services, 1095 Broken Sound Pkwy. NW, Suite 100, Boca Raton, FL
       33487.

       Justin Kiliszek, Keller Williams Midtown Direct, 223 Mountain Ave Springfield, NJ
       07081



                                     /s/ Christine L. Herendeen
                                        Christine L. Herendeen
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 8 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 9 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 10 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 11 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 12 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 13 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 14 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 15 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 16 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 17 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 18 of 19
Case 8:19-bk-04542-RCT   Doc 30   Filed 09/24/19   Page 19 of 19
